                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                  SOUTHERN DIVISION

   BROOKE HENDERSON and JENNIFER                    )
   LUMLEY,                                          )
                                                    )
           Plaintiffs,                              )
                                                    )
   v.                                               ) Case No. 6:21-cv-03219-MDH
                                                    )
   SCHOOL DISTRICT OF SPRINGFIELD R-                )
   12, BOARD OF EDUCATION OF THE                    )
   SCHOOL DISTRICT OF SPRINGFIELD R-                )
   12, GRENITA LATHAN, YVANIA                       )
   GARCIA-PUSATERI, and LAWRENCE                    )
   ANDERSON,                                        )
                                                    )
           Defendants.                              )


                         PLAINTIFFS’ RENEWED MOTION FOR STAY


        COME NOW PLAINTIFFS, by and through undersigned counsel, for this Renewed

Motion for Stay of this Court’s May 24, 2023 Order to Show Cause, and state:

        On June 2, 2023, Plaintiffs filed a motion requesting this Court to either refer its

disciplinary investigation of Attorney Hermann to the Western District en banc or, in the

alternative, recuse, and requested “a brief administrative stay while the Court considers this

request, with a new deadline of ten days from any decision declining to relinquish this matter or

recuse.” [Doc. 129 at 19]. This Court denied Plaintiffs’ motion on June 6, 2023. [Doc. 130]. The

June 9, 2023 deadline to supplement Plaintiffs’ response to this Court’s Show Cause Order remains

unchanged.

        Plaintiffs are filing a Petition for Writ of Mandamus in the Eighth Circuit today, June 7,

seeking to compel this Court to (a) withdraw its Order demanding a Friday, June 9, response to




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questions about counsel’s research on the attorney fee issue; and (b) terminate its investigation. In

light of Plaintiffs’ forthcoming writ petition, Plaintiffs renew their motion for stay to allow the

Eighth Circuit to fully consider Plaintiffs’ petition on the merits. Given the incredibly short

timeframe between Plaintiffs’ filing of their writ petition and the impending deadline for Plaintiffs’

response to this Court, Plaintiffs’ request for a temporary administrative stay is an appropriate way

to maintain the status quo while giving “the court sufficient opportunity to consider the merits of

the” Petition. Brady v. NFL, 638 F.3d 1004, 1005 (8th Cir. 2011).

                                          CONCLUSION

       Petitioners respectfully request that this Court maintain the status quo by entering a stay

holding its Show Cause Order in abeyance pending the resolution of Plaintiffs’ Petition for Writ

of Mandamus in the Eighth Circuit.



Respectfully submitted this 7th day of June, 2023.

                                                      /s/ Edward D. Greim
                                                      Edward D. Greim
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                                                      Counsel for Plaintiffs & Kimberly Hermann




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 7, 2023, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt. All other parties will be served by regular U.S. Mail

and/or facsimile. Parties may access the filing through the Court’s electronic filing system.


                                                      /s/ Edward D. Greim
                                                      Edward D. Greim
                                                      Counsel for Plaintiffs




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